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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           CASE NO. 8:11CR287
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                   ORDER
                                               )
LARRY E. JOHNSON,                              )
                                               )
              Defendant.                       )

       This matter is before the Court on Defendant Larry Johnson’s letter addressed to

the Clerk of Court (Filing No. 255), which the Court will construe as a motion for copies.

The Defendant requests the following documents: Sentencing Transcript, Plea Agreement,

and the Criminal Docket Sheet and Judgment and Commitment.

       The Defendant does not state the reason he wants the documents he asks for, and

further he does not provide adequate support demonstrating that he is entitled to receive

such documents without payment. The Defendant was sentenced on July 23, 2012. No

appeal was taken from the Judgment entered; therefore, no transcript was prepared of the

sentencing hearing. No basis exists to waive the defendant’s obligation to pay for any

transcripts he requests. If defendant wishes to purchase a transcript of his sentencing

hearing held July 23, 2012, he should contact Brenda Fauber, Official Court Reporter, 111

S. 18th Plaza, Suite 3122, Omaha, NE 68102, and make financial arrangements for

preparation of the transcript.

       The Defendant had previously moved the court for copies (Filing No. 253). The

Court’s Order (Filing No 254) directed the Clerk to provide the Defendant copies of his

Judgment and the Court’s docket sheet. Therefore, since the Defendant has already been
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provided the Judgment and docket sheet, the Court will only order the Clerk to send the

Defendant a copy of his Plea Agreement. Accordingly,

      IT IS ORDERED:

      1.     The Court will construe Defendant Larry Johnson’s letter addressed to the

             Clerk of Court (Filing No. 255) as a motion for copies; and

      2.     The Clerk shall mail copies of this Order and Defendant Larry Johnson’s

             Plea Agreement to the Defendant at his last known address.

      DATED this 15th day of July, 2013.


                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        Chief United States District Judge




                                            2
